Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 1 of 6
Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 2 of 6
Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 3 of 6
Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 4 of 6
Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 5 of 6
Case 4:05-cr-00305-SWW   Document 1074   Filed 11/01/07   Page 6 of 6
